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         100365655 E-Filed 12/16/2019


                       IN                                JUDICIAL CIRCUIT
                       IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                                 ANDFOR
                              INAND
                              IN     FOR PINELLAS  COUNTY,FLOMDA
                                         PEVELLASCOUNTY,  FLORIDA
                                                DIVISION
                                          CIVILDIVISION
                                          CIVIL


              B. WILSON,
        JAMES B.
        JAMES

                 Plaintiff;
                 Plaintiff;
                                                                       Case No.:
                                                                       Case No.
        v.
        V.


                 COUNTY;
        PINELLASCOUNTY;
        PINELLAS

                Defendant.
                Defendant.

                                                           /




                                            DEMAND FOR
                                COMPLAINT & DEMAND     JURY TRIAL
                                                   FOR JURY

                Plaintiff, JAMES B. WILSON ("Mr. Wilson"), by
                                                           by and                              files
                                                              and through undersigned counsel, files

        this
        this action
             action against
                    against Defendant PINELLAS
                                      PINELLAS COUNTY, and
                                                       andstates
                                                           states as follows:
                                                                  as follows:

                1.
                1.      Mr.
                        Mr. Wilson
                            Wilson has not been
                                           been paid
                                                paid according
                                                      according to the
                                                                    the Fair
                                                                         FairLabor
                                                                              LaborStandards  Act
                                                                                    Standards Act

        ("FLSA")
        ("FLSA")and
                 andseeks
                    seeks to
                          to recover
                             recover damages from Pinellas
                                     damages from          County.
                                                  Pinellas County.

                2.      Mr. Wilson was hired
                            Wilson was hired by
                                             by Pinellas County in
                                                Pinellas County    1989 and
                                                                in 1989     since 1999
                                                                        andsince             atFort
                                                                                       workedat
                                                                                  1999worked

        De
        De Soto
           Soto Park
                Parkin
                     in Pinellas
                        Pinellas County as an
                                 County as anon-site           and was
                                              on-site employee and             duty 24
                                                                   was on-call duty    hours a day, 77
                                                                                    24 hours

        days
        days a week.

                3.      Pinellas County is
                                        is a political subdivision
                                                       subdivision of
                                                                   ofthe
                                                                      the State
                                                                          State of Florida.
                                                                                of Florida.

                4.
                4.      Mr.
                        Mr. Wilson
                            Wilson worked
                                   worked in an
                                             anhourly
                                                hourly capacity
                                                        capacity for
                                                                  forPinellas
                                                                      Pinellas County
                                                                               County and
                                                                                       andperformed
                                                                                           performed

        related,
        related, non-exempt
                 non-exemptactivities
                            activitiesfor
                                      for Pinellas
                                          PinellasCounty inPinellas
                                                   Countyin         County, Florida.
                                                            PinellasCounty,

                5.      Jurisdiction and
                                     and venue are
                                               are proper in
                                                          in this
                                                             this Court
                                                                  Court because the
                                                                                the acts giving rise
                                                                                    acts giving      to this
                                                                                                rise to

        lawsuit
        lawsuitarise under federal
                ariseunder federallaw
                                   lawoccurred in Pinellas
                                      occurredin           County,Florida.
                                                  PinellasCounty,




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                                                                                              EXHIBIT 1
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        6.
        6.        Mr.
                  Mr. Wilson
                      Wilson is                           of $15,000.00, not
                             is seeking damages in excess of                 including attorneys'
                                                                         not including attorneys'

fees
fees and
     and costs.

        7.
        7.        Pinellas County was
                  Pinellas County was and
                                      and continues to be an "employer" within
                                                       be an            within the         of29
                                                                                   meaning of
                                                                               the meaning
            203(d).
U. S. C. §§ 203(d).
U.S.C.

        8.        Mr.
                  Mr. Wilson was an
                      Wilsonwas  an "employee"
                                    "employee" within
                                               within the         of the
                                                          meaning of
                                                      the meaning    the FLSA.

        9.        At
                  At all
                     all times material hereto, Pinellas County was
                                                                was Mr.
                                                                    Mr. Wilson's "employer" within
                                                                        Wilson's "employer"

the
the meaning
    meaningof
            ofthe
              the FLSA.

        10.
        10.       Mr. Wilson's duties
                               duties included
                                      included working
                                               working at Fort De Soto
                                                                  Soto Park
                                                                       Park in
                                                                             inPinellas
                                                                               Pinellas County
                                                                                        County

and
and he
    he maintained
       maintained the
                  the same
                      same duties at Fort De
                                  at Fort De Soto
                                             Soto Park
                                                  Park 24/7
                                                       24/7 since
                                                            since being          to that
                                                                        assigned to
                                                                  being assigned         Park in
                                                                                    that Park

1999.
1999.

        11.
        11.       Pinellas County closely supervised Mr. Wilson.
                                                         Wilson.

        12.
        12.       Mr. Wilson worked at
                                    at Fort De
                                            De Soto
                                               Soto Park
                                                    Park in
                                                         in excess of
                                                                   of forty (40) hours per week.
                                                                                       per week.

        13.
        13.       Pinellas
                  Pinellas County failed to pay
                                            pay Mr. Wilson
                                                    Wilson full
                                                           full and
                                                                andproper
                                                                    proper overtime
                                                                           overtime compensation
                                                                                    compensation

for
for all
    all hours
        hoursworked
              workedover
                    overforty
                         forty (40)       per week.
                                    hours per
                               (40) hours

        14.
        14.       Mr. Wilson should have been compensated
                                              compensated at the rate of
                                                                      of one and one-half
                                                                         one and          times
                                                                                 one-half times

Mr.
Mr. Wilson'
    Wilson'regular
            regularrate
                   ratefor
                        forall
                           allhours
                               hoursthat
                                    thatMr.
                                         Mr.Wilson
                                            Wilsonworked
                                                   worked in
                                                          inexcess
                                                             excess of forty (40)
                                                                    offorty       hours per
                                                                             (40) hours
week,
week, as
      asrequired
         requiredby
                 bythe
                    theFLSA
                       FLSAthroughout hisemployment.
                            throughouthis

        15.
        15.     Pinellas
                Pinellas County also failed
                                     failed to
                                            to maintain
                                               maintain proper time records as
                                                        proper time                     by the
                                                                               mandated by
                                                                            as mandated
FLSA.

        16.
        16.     Mr.
                Mr. Wilson
                    Wilsonis
                           is not
                              not subject
                                  subjectto
                                          to any
                                             anyexemptions       theFLSA.
                                                           underthe
                                                 exemptionsunder

        17.
        17.     Prior
                Prior to
                      to violating the
                                   the FLSA,
                                       FLSA, Pinellas
                                             Pinellas County did not
                                                      County did     consult with
                                                                 not consult         attorney to
                                                                                  anattorney
                                                                             with an
evaluate
evaluate whether Mr. Wilson's
                     Wilson's actual
                              actual job
                                     job duties andpay
                                         dutiesand                rendered him
                                                       structure rendered
                                                   paystructure                       from
                                                                               exempt from
                                                                           himexempt
recovering payment
recovering payment for
                   for all
                       all overtime worked under
                           overtime worked       the FLSA.
                                           under the




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         18.
         18.    Prior to violating
                Prior to                                                     with the
                         violating the FLSA, Pinellas County did not consult with     Department
                                                                                  the Department

of
of Labor
   Labor to
         to evaluate                      achial job duties
            evaluate whether Mr. Wilson's actual                pay structure
                                                            and pay
                                                     duties and                          him
                                                                                rendered him
                                                                     structure rendered

exempt
exemptfrom
       from recovering
            recoveringpayment
                       paymentfor all overtime
                              for all          workedunder
                                      overtime worked      the FLSA.
                                                      underthe

         19.    In part,
                In part, based
                         based on     allegations in
                                  the allegations
                               on the             in Paragraphs 6-18 above, Mr.
                                                     Paragraphs6-18                    is entitled
                                                                                Wilsonis
                                                                            Mr. Wilson

to                    as Pinellas County has no objective or subjective good
to liquidated damages as                                                good faith        that its
                                                                                   beliefthat
                                                                             faith belief

pay practices were
pay           were in
                   in compliance with
                                 with the
                                      the FLSA.

         20.
         20.    As
                As aa result
                      result of Pinellas County's
                             ofPinellas  County's intentional,          and unlawful acts
                                                  intentional, willful, and                  refusing
                                                                                          in refusing
                                                                                     acts in
to
to pay
   pay Mr. Wilson
           Wilson time and
                       and one
                           one half
                               half his              of pay
                                    his regular rate of     for each
                                                        pay for                  in excess of
                                                                     hour worked in
                                                                each hour

forty
forty (40) per work
      (40) per work week
                    weekin
                         inone
                           oneor
                               ormore     weeks.Mr.
                                      workweeks,
                                 morework           Wilsonhas
                                                 Mr.Wilson     suffereddamages
                                                           hassuffered         plus
                                                                       damages plus
incurred reasonable attorneys' fees
                               fees and
                                    and costs.
                                        costs.

         21.    As
                As a result of Pinellas County's
                            ofPinellas  County's willful              the FLSA,
                                                                   ofthe
                                                 willful violation of                      is also
                                                                                    Wilson is
                                                                          FLSA, Mr. Wilson

entitled to liquidated
entitledto  liquidateddamages.

         22.    Mr. Wilson
                    Wilson has
                           hasretained      lawfirm
                                        the law
                               retained the                     LOOP&
                                                       SHUMAKER,LOOP
                                                    ofSHUMAKER,
                                                finnof                 KENDRICK.
                                                                     & KENDRICK,

LLP to represent them in
LLP                                     and have agreed to pay
                         the litigation and
                      in the                               pay the        reasonable fee
                                                               the firm a reasonable     for its
                                                                                     fee for

services.

         WHEREFORE, Mr. Wilson respectfully requests that judgment
         WHEREFORE,                                                               his favor
                                                           judgment be entered in his

against
against Pinellas
        Pinellas County, and
                         and that
                             that this Court:
                                  this Court:

                a.     Declare, pursuantto
                       Declare, pursuant to 29
                                            29 U.S.C.
                                               U. S. C. §§2201     2202, that
                                                               and 2202,
                                                        §§2201 and                     and
                                                                                  acts and
                                                                         that the acts

practices complained of
                     ofherein
                        herein are
                               are in           ofthe
                                   in violation of                             ofthe
                                                               hour provisions of
                                                   the maximum hour                   FLSA;
                                                                                  the FLSA;

                b.     Award     Wilson overtime compensation in the amount due to him
                       Award Mr. Wilson                                            him for

time worked
time worked in
            in excess
               excessof
                      offorty (40) hours
                        forty(40)        per work
                                   hours per work week;

                c.     Award
                       Award Mr. Wilson liquidated damages in anamount
                                                           in an              to the
                                                                        equal to
                                                                 amount equal        overtime
                                                                                 the overtime

award;
award;




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                  d.    Award            reasonable attorney's
                        Award Mr. Wilson reasonable            fees and costs
                                                    attorney's fees           and expenses of
                                                                        costs and
the
the litigation pursuant to
                        to 29
                           29 U.S.C.
                              U. S. C. §216(b);
                                       §216(b);

                  e.   Award Mr. Wilson pre judgment
                                            judgment interest;
                                                     interest; and ordering any
                                                                            any other further
                                                                                other further

relief
relief the
       the Court
           Court deems just and
                 deems just and proper.
                                proper.

                                          JURY
                                          JURY DEMAND

         Mr.
         Mr. Wilson
             Wilsondemands
                    demandstrial
                           trial by jury on
                                 byjury  on all
                                            all issues
                                                issues so triable as
                                                       so triable asa matter ofright
                                                                      matterof       byjury
                                                                               rightby jury.

DATED
DATEDDecember 16, 2019
      December16,

                                                  Respectfully
                                                  Respectfully Submitted,

                                                  /s/ Robert R. Warchola
                                                  /s/Robert
                                                  Robert R. Warchola, Esq.
                                                                       Esq.
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                                                  FloridaBar
                                                  Florida          051703 8
                                                               No. 0517038
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